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                              UNITED STATES DISTRICT COURT                    2022 HAR24 AH 8: 32
                               SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION -CINCINNATI                      f ,s.p1srn1cr COURT
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                                                                               WEST DIV CltJC/NNATI
 UNITED STATES OF AMERICA,
                   Plaintiff,
                                                       CASE NO.        1122CR 031
                         v.
                                                       JUDGE       J. COLE
                                                       INDICTMENT
 KENNETH HAWKINS,
                                                       18 U.S.C. §§ 2252A(a)(2)(A) and (b)(l)
                    Defendant.                         18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2)

                                                       FORFEITURE ALLEGATION


THE GRAND JURY CHARGES:

                                            COUNTl
                                (Distributing Child Pornography)

       On or about December 2, 202 I, in the Southern District of Ohio and elsewhere, the

defendant, KENNETH HAWKINS, did knowingly distribute any child pornography, as defined

in Title 18 United States Code Section 2256(8), to wit: video files using BitTorrent; using any

means and facility of interstate and foreign commerce and that has been shipped and transported

in and affecting interstate and foreign commerce by any means, including by computer.

       In violation of Title 18 United States Code, Sections 2252A(a)(2)(A) and (b)(l).

                                            COUNT2
                                (Distributing Child Pornography)

       On or about December 15, 2021, in the Southern District of Ohio and elsewhere, the

defendant, KENNETH HAWKINS, did knowingly distribute any child pornography, as defined

in Title 18 United States Code Section 2256(8), to wit: video files using BitTorrent; using any

means and facility of inte~state and foreign commerce and that has been shipped and transported
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in and affecting interstate and foreign commerce by any means, including by computer.

       In violation of Title 18 United States Code, Sections 2252A(a)(2)(A) and (b)(l).

                                            COUNT3
                                (Distributing Child Pornography)

       On or about January 9, 2022, in the Southern District of Ohio and elsewhere, the defendant,

KENNETH HAWKINS, did knowingly distribute any child pornography, as defined in Title 18

United States Code Section 2256(8), to wit: video files using BitTorrent; using any means and

facility of interstate and foreign commerce and that has been shipped and transported in and

affecting interstate and foreign commerce by any means, including by computer.

       In violation of Title 18 United States Code, Sections 2252A(a)(2)(A) and (b)(l).

                                           COUNT4
                               (Possession of Child Pornography)

       On or about February 8, 2022, in the Southern District of Ohio, the defendant, KENNETH

HAWKINS, did knowingly possess a computer disk, and other material, to wit: Dell Desktop

OptiPlex 3010 computer, 4 Seagate Hard Drives, and a Sandisk Ultra USB 3.0 thumb drive, that

contained an image of child pornography, as defined in Title 18, United States Code, Section

2256(8)(A), involving a prepubescent minor and a minor who had not attained 12 years of age,

that had been mailed, shipped and transported using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce by any means, including by

computer, and which was produced using materials that had been mailed, shipped and transported

in and affecting interstate and foreign commerce by any means, including by computer.

       In violation of Title 18 United States Code, Sections 2252A(a)(5)(B) and (b)(2).




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                                FORFEITURE ALLEGATION

       Upon conviction of one or more of the offenses set forth in Counts 1, 2, 3, and/or 4 of this

Indictment, the defendant, KENNETH HAWK.INS, shall forfeit to the United States, pursuant to

18 U.S.C. § 2253(a): (I) any visual depiction described in section 2251, 225 IA, 2252, 2252A,

2252B, or 2260 of Chapter 110 of Title 18 of the United States Code, or any book, magazine,

periodical, film, videotape or other matter which contains any such visual depiction, which was

produced, transported, mailed, shipped or received in violation of Chapter I IO of Title 18 of the

United States Code; (2) any property, real or personal, constituting or traceable to gross profits or

other proceeds obtained from such offense(s); and (3) any property, real or personal, used or

intended to be used to commit or to promote the commission of such offense(s) or any property

traceable to such property, including but not limited to the following:

       a.      Seagate Hard Drive, SIN: Ql 108210D4T w/ Power Cord & USB;

       b.      Seagate Hard Drive, SIN: Z294VHTS;

       c.      Seagate Hard Drive, SIN: NA8TXKHZ w/ Key & USB;

       d.      Seagate Hard Drive, SIN: NAABEE5A w/ USB & Power Cord;

       e.      Dell Desktop Optiplex 3010, SIN: 70209953; and

       f.      Sandisk Ultra USB 3 .0, SIN: BM l 60925533B.

                                     SUBSTITUTE ASSETS

       If any of the property described above, as a result of any act or omission of the defendant:

       a.      cannot be located upon the exercise of due diligence;

       b.      has been transferred or sold to, or deposited with, a third party;

       c.      has been placed beyond the jurisdiction of the court;

       d.      has been substantially diminished in value; or

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       e.      has been commingled with other property which cannot be divided without

               difficulty,

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.

§ 225 3(b), to seek forfeiture of any other property of the defendant, up to the value of the property

described above.



                                                      A TRUE BILL




KENNETH L. PARKER
UNITED STATES ATTORNEY



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ASSISTANT UNITED STATES ATTORNEY




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